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11                               UNITED STATES DISTRICT COURT
12                              CENTRAL DISTRICT OF CALIFORNIA
13
14     EMILY CHEBUL, individually              Case No. 2:24-cv-02707
       and on behalf of all others similarly
15     situated,                               CLASS ACTION COMPLAINT
16
                   Plaintiff,                  DEMAND FOR JURY TRIAL
17
18     v.
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       TUFT & NEEDLE, LLC,
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21                 Defendant.

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     Class Action Complaint                                        Case No. 2:24-cv-02707
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 1   I.       Introduction.
 2            1.    Advertised “sale” prices are important to consumers. Consumers are more
 3   likely to purchase an item if they know that they are getting a good deal. Further, if
 4   consumers think that a sale will end soon, they are likely to buy now, rather than wait,
 5   comparison shop, and buy something else.
 6            2.    While there is nothing wrong with a legitimate sale, a fake one—that is, one
 7   with made-up regular prices, made-up discounts, and made-up expirations—is deceptive
 8   and illegal.
 9            3.    Section 17500 of California’s False Advertising Law prohibits businesses
10   from making statements they know or should know to be untrue or misleading. Cal. Bus.
11   & Prof. Code § 17500. This includes statements falsely suggesting that a product is on
12   sale, when it actually is not.
13            4.    Moreover, section 17501 of California’s False Advertising Law provides that
14   “[n]o price shall be advertised as a former price … unless the alleged former price was
15   the prevailing market price … within three months next immediately preceding” the
16   advertising. Cal. Bus. & Prof. Code § 17501. So, in addition to generally prohibiting
17   untrue and misleading fake discounts, it also specifically prohibits this particular flavor of
18   fake discount (where the advertised former price is not the prevailing price during the
19   specified timeframe).
20            5.    In addition, California’s Consumer Legal Remedies Act prohibits
21   “advertising goods or services with the intent not to sell them as advertised” and
22   specifically prohibits “false or misleading statements of fact concerning reasons for,
23   existence of, or amounts of price reductions.” Cal. Civ. Code § 1770(a)(9), (13).
24            6.    Moreover, the Federal Trade Commission’s regulations prohibit false or
25   misleading “former price comparisons,” for example, making up “an artificial, inflated
26   price … for the purpose of enabling the subsequent offer of a large reduction” off that
27   price. 16 C.F.R. § 233.1. They also prohibit false or misleading “retail price
28   comparisons” and “comparable value comparisons,” for example, ones that falsely


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 1   suggest that the seller is “offer[ing] goods at prices lower than those being charged by
 2   others for the same merchandise” when this is not the case. 16 C.F.R. § 233.1.
 3         7.     So, as numerous courts have found, fake sales violate these laws. They also
 4   violate California’s general prohibition on unlawful, unfair, and deceptive business
 5   practices. See Cal. Bus. & Prof. Code § 17200.
 6         8.     Defendant Tuft & Needle, LLC (“Defendant” or “Tuft & Needle”) sells
 7   and markets mattresses and bedding products online through the Tuft & Needle brand
 8   and website, www.tuftandneedle.com (“Tuft & Needle Products” or “Products”).
 9         9.     On its website, Defendant lists purported regular prices and advertises
10   purported discounts from those listed regular prices. These include “LIMITED TIME”
11   discounts offering “up to $X off” and “X% off.” Defendant also advertises that its
12   Products have a lower discount price as compared to a higher, regular price shown in
13   grey and/or strikethrough font. Examples are shown below:
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24         10.    But in fact, Defendant’s discounts are routinely available. As a result,
25   everything about Defendant’s price and purported discount advertising is false. The
26   regular prices Defendant advertises are not actually Defendant’s regular prices, because
27   Defendant’s Products are routinely available for less than that. The purported discounts
28   Defendant advertises are not the true discount the customer is receiving, and are often


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 1   not a discount at all. Nor are the purported discounts “LIMITED TIME ONLY,” or
 2   limited to specific time periods like President’s Day or Black Friday.
 3           11.   As described in greater detail below, Ms. Chebul bought items from
 4   Defendant from its website, www.tuftandneedle.com. When Ms. Chebul made her
 5   purchase, Defendant advertised that a sale was going on, and so Defendant represented
 6   that the Product Ms. Chebul purchased was being offered at a steep discount from its
 7   purported regular prices that Defendant advertised. And based on Defendant’s
 8   representations, Ms. Chebul believed that she was purchasing a Product whose regular
 9   price and market value were the purported regular prices that Defendant advertised, that
10   she was receiving a substantial discount, and that the opportunity to get that discount was
11   time-limited. These reasonable beliefs are what caused Ms. Chebul to buy from
12   Defendant when she did.
13           12.   In truth, however, the representations Ms. Chebul relied on were not true.
14   The purported regular prices were not the true regular prices that Defendant sells the
15   products for, the purported discounts were not the true discounts, and the discounts
16   were ongoing—not time-limited. Had Defendant been truthful, Ms. Chebul and other
17   consumers like her would not have purchased the Products, or would have paid less for
18   them.
19           13.   Plaintiff brings this case for herself and the other customers who purchased
20   Tuft & Needle Products.
21   II.     Parties
22           14.   Plaintiff Emily Chebul is domiciled in Castaic, California.
23           15.   The proposed class includes citizens of every state.
24           16.   Defendant Tuft & Needle, LLC is an Delaware limited liability company
25   with its principal place of business at 735 Grand Avenue, Phoenix, Arizona 85007.
26   III.    Jurisdiction and Venue.
27           17.   This Court has subject matter jurisdiction under 28 U.S.C. § 1332(d)(2).
28   The amount in controversy exceeds $5,000,000, exclusive of interest and costs, and the


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 1   matter is a class action in which one or more members of the proposed class are citizens
 2   of a state different from Defendant.
 3          18.      The Court has personal jurisdiction over Defendant because Defendant
 4   sold Tuft & Needle Products to consumers in California, including to Plaintiff.
 5          19.      Venue is proper under 28 U.S.C. § 1391(b)(1) and 28 U.S.C. § 1391(d)
 6   because Defendant would be subject to personal jurisdiction in this District if this
 7   District were a separate state, given that Defendant sold Tuft & Needle Products to
 8   consumers in this District, including Plaintiff. Venue is also proper under 28 U.S.C. §
 9   1391(b)(2) because a substantial part of Defendant’s conduct giving rise to the claims
10   occurred in this District, including Defendant’s sale to Plaintiff.
11   IV.    Facts.
12          A.       Defendant’s fake prices and fake discounts.
13          20.      Defendant Tuft & Needle manufactures, distributes, markets, and sells
14   mattresses. Defendant sells its Products directly to consumers through its website, www
15   www.tuftandneedle.com.
16          21.      On its website, Defendant creates the false impression that its Products’
17   regular prices are higher than they truly are.
18          22.      On its website, Defendant advertises steep discounts on its Products. These
19   discounts consistently offer “X%” or “$X” off the listed regular prices Defendant
20   advertises. Defendant also states that they are “LIMITED TIME ONLY” or limited to
21   specific time periods (such as Black Friday or President’s Day). And it advertises these
22   discounts extensively: on an attention-grabbing banner at the top of its website; in a large
23   banner image on its homepage; on the products listing pages, next to images of each
24   Product; on the individual product pages for each Product; and during checkout.
25   Example screenshots are provided on the following pages:
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 1            23.   Using these tactics, Defendant leads reasonable consumers to believe that
 2   they will get a discount on the Products they are purchasing if they purchase during a
 3   limited time promotion. In other words, it leads reasonable consumers to believe that if
 4   they buy now, they will get a Product worth X at a discounted, lower price Y. This
 5   creates a sense of urgency: buy now, and you will receive something worth more than you
 6   pay for it; wait, and you will pay more for the same thing later.
 7            24.   Based on Defendant’s advertisements, reasonable consumers reasonably
 8   believe that the prices displayed in “strikethrough font” (e.g., “$995.00”) are Defendant’s
 9   regular prices and former prices (that is, the price at which the goods were actually
10   offered for sale on Defendant’s website before the limited-time offer went into effect).
11   In other words, reasonable consumers reasonably believe that the listed strikethrough
12   regular prices Defendant advertises represent the amount that consumers formerly had to
13   pay on Defendant’s website for Defendant’s goods, before the limited-time sale began.
14   Said differently, reasonable consumers reasonably believe that, prior to the supposedly
15   time-limited sale, consumers buying from Defendant on its website had to pay the regular
16   price to get the item and did not have the opportunity to get a discount from that regular
17   price.
18            25.   Reasonable consumers also reasonably believe that the listed regular prices
19   Defendant advertises represent the true market value of the Products, and are the
20   prevailing prices for those Products; and that they are receiving reductions from those
21   listed regular prices in the amounts advertised. In truth, however, Defendant consistently
22   offers discounts off the purported regular prices it advertises. As a result, everything
23   about Defendant’s price and purported discount advertising is false. The regular prices
24   Defendant advertises are not actually Defendant’s regular or former prices, or, as
25   discussed below, the prevailing prices for the Products Defendant sells. And, the listed
26   regular prices do not represent the true market value for the Products, because
27   Defendant’s Products are consistently available for less than that on Defendant’s website,
28   and customers did not have to formerly pay that amount to get those items. The


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 1   purported discounts Defendant advertises are not the true discount the customer is
 2   receiving, and are often not a discount at all. Nor are the purported discounts limited in
 3   time—quite the opposite, they are regularly available.
 4          B.     Defendant’s advertisements are unfair, deceptive, and unlawful.
 5          26.    Section 17500 of California’s False Advertising Law prohibits businesses
 6   from making statements they know or should know to be untrue or misleading. Cal. Bus.
 7   & Prof. Code § 17500. This includes statements falsely suggesting that a product is on
 8   sale, when it actually is not.
 9          27.    Moreover, section 17501 of California’s False Advertising Law specifically
10   provides that “[n]o price shall be advertised as a former price … unless the alleged
11   former price was the prevailing market price … within three months next immediately
12   preceding” the advertising. Cal. Bus. & Prof. Code § 17501.
13          28.    In addition, California’s Consumer Legal Remedies Act prohibits
14   “advertising goods or services with the intent not to sell them as advertised” and
15   specifically prohibits “false or misleading statements of fact concerning reasons for,
16   existence of, or amounts of price reductions.” Cal. Civ. Code § 1770(a)(9), (13).
17          29.    In addition, the Federal Trade Commission’s regulations prohibit false or
18   misleading “former price comparisons,” for example, making up “an artificial, inflated
19   price … for the purpose of enabling the subsequent offer of a large reduction” off that
20   price. 16 C.F.R. § 233.1. They also prohibit false or misleading “retail price
21   comparisons” and “comparable value comparisons,” for example ones that falsely
22   suggest that the seller is “offer[ing] goods at prices lower than those being charged by
23   others for the same merchandise” when this is not the case. 16 C.F.R. § 233.1.
24          30.    And finally, California’s unfair competition law bans unlawful, unfair, and
25   deceptive business practices. See Cal. Bus. & Prof. Code § 17200.
26          31.    Here, as described in detail above, Defendant makes untrue and misleading
27   statements about its prices. Defendant advertises regular prices that are not its true
28   regular prices, or its former prices, and were not the prevailing market price in the three


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 1   months immediately preceding the advertisement. In addition, Defendant advertised
 2   goods or services with the intent not to sell them as advertised, for example, by
 3   advertising goods having certain former prices and/or market values without the intent
 4   to sell goods having those former prices and/or market values. Defendant made false or
 5   misleading statements of fact concerning the reasons for, existence of, and amounts of
 6   price reductions, including the existence of steep discounts, and the amounts of price
 7   reductions resulting from those discounts. And Defendant engaged in unlawful, unfair,
 8   and deceptive business practices.
 9            C.    Defendant’s advertisements harm consumers.
10            32.   Based on Defendant’s advertisements, reasonable consumers would expect
11   that the listed regular prices are the regular prices at which Defendant usually sells its
12   Products and that these are former prices that Defendant sold its Products at before the
13   time-limited discount was introduced.
14            33.   Reasonable consumers would also expect that, if they purchase during the
15   sale, they will receive an item whose regular price and/or market value is the advertised
16   regular price and that they will receive the advertised discount from the regular purchase
17   price.
18            34.   In addition, consumers are more likely to buy the product if they believe
19   that the product is on sale and that they are getting a product with a higher regular price
20   and/or market value at a substantial discount.
21            35.   Consumers that are presented with discounts are substantially more likely to
22   make the purchase. “Nearly two-thirds of consumers surveyed admitted that a
23   promotion or a coupon often closes the deal, if they are wavering or are undecided on
24   making a purchase.”1 And, “two-thirds of consumers have made a purchase they weren’t
25   originally planning to make solely based on finding a coupon or discount,” while “80%
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            https://www.invespcro.com/blog/how-discounts-affect-online-consumer-
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28   buying-behavior/.

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 1   [of consumers] said they feel encouraged to make a first-time purchase with a brand that
 2   is new to them if they found an offer or discount.”2
 3         36.    Similarly, when consumers believe that an offer is expiring soon, the sense
 4   of urgency makes them more likely to buy a product.3
 5         37.    Thus, Defendant’s advertisements harm consumers by inducing them to
 6   make purchases based on false information. In addition, by this same mechanism,
 7   Defendant’s advertisements artificially increase consumer demand for Defendant’s
 8   Products. This puts upward pressure on the prices that Defendant can charge for its
 9   Products. As a result, Defendant can charge a price premium for its Products, that it
10   would not be able to charge absent the misrepresentations described above. So, due to
11   Defendant’s misrepresentations, Plaintiff and the class paid more for the Products they
12   bought than they otherwise would have.
13         D.     Plaintiff was misled by Defendant’s misrepresentations.
14         38.    On July 4, 2023, Ms. Chebul purchased a king-sized Tuft & Needle Mint
15   Mattress from Defendant’s website. She made this purchase while living in Castaic,
16   California. In the email order confirmation and online order summary that Defendant
17   sent to Ms. Chebul after she made her purchase, Defendant represented that the Tuft &
18   Needle Mint Mattress had a regular price of $2095.00 (in strikethrough font). And,
19   Defendant represented that Ms. Chebul receieved a “Savings” of $314.25 for a discounted
20   price of $1780.75.
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              RetailMeNot Survey: Deals and Promotional Offers Drive Incremental Purchases
     Online, Especially Among Millennial Buyers (prnewswire.com).
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              https://cxl.com/blog/creating-urgency/ (addition of a countdown timer
27   increased conversion rates from 3.4%-10%); Dynamic email content leads to 400%
     increase in conversions for Black Friday email | Adestra (uplandsoftware.com) (400%
28   higher conversation rate for ad with countdown timer).

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15         39.    In short, Defendant represented that the Product had a certain regular price
16   and that Ms. Chebul was receiving a substantial discount for the item that she purchased.
17         40.    Ms. Chebul read and relied on Defendant’s representations on the website,
18   specifically that the Product was being offered at a discount and had the regular price
19   listed above. She relied on the strikethrough regular price of “$2095.00,” the discounted
20   price of “$1780.75,” and the “Savings” of “-$314.25.” Based on Defendant’s
21   representations described and shown above, Ms. Chebul reasonably understood that
22   Defendant regularly (and before the promotion Defendant was advertising) sold the
23   Products she was purchasing at the published regular price, that this regular price was the
24   market value of the Products that she was buying, that she was receiving the advertised
25   discount as compared to the regular price. She would not have made the purchase if she
26   had known that the Product was not discounted as advertised, and that she was not
27   receiving the advertised discount.
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 1          41.     In reality, as explained above, Defendant’s products, including the Products
 2   that Ms. Chebul purchased, are regularly available at a discounted price of off the
 3   purported regular prices. In other words, Defendant did not regularly sell the Products
 4   Ms. Chebul purchased at the purported regular prices, and the Products were not
 5   discounted as advertised. Plus, the sale was not limited time—Defendant’s products are
 6   routinely on sale.
 7          42.     Plaintiff faces an imminent threat of future harm. Plaintiff would purchase
 8   Products from Defendant again in the future if she could feel sure that Defendant’s
 9   regular prices accurately reflected Defendant’s former prices and the market value of the
10   Products, and that its discounts were truthful. But without an injunction, Plaintiff has no
11   realistic way to know which—if any—of Defendant’s regular prices, discounts, and sales
12   are not false or deceptive. For example, while she could watch Defendant’s website for a
13   sale on the day that it is supposed to end to see if the sale is permanent, doing so could
14   result in her missing out on the sale (e.g., if the sale is actually limited in time, and not
15   permanent). Accordingly, Plaintiff is unable to rely on Defendant’s advertising in the
16   future, and so cannot purchase Products she would like to purchase.
17          E.      Defendant breached its contract with and warranties to Ms. Chebul
18                  and the putative class.
19          43.     When Ms. Chebul, and other members of the putative class, purchased and
20   paid for the Tuft & Needle Products that they bought as described above, they accepted
21   offers that Defendant made, and thus, a contract was formed each time that they made
22   purchases. Each offer was to provide Products having a particular listed regular price
23   and market value, and to provide those Products at the discounted price advertised on
24   the website.
25          44.     Defendant’s website and email confirmations list the market value of the
26   items that Defendant promised to provide (which, for Ms. Chebul, are shown above).
27   Defendant agreed to provide a discount equal to the difference between the regular
28   prices, and the prices paid by Ms. Chebul and putative class members (also shown above


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 1   for Ms. Chebul). For example, Defendant offered to provide Ms. Chebul (among other
 2   things) the Tuft & Needle Mint Mattress with a market value of $2095, and to provide a
 3   discount of $314.25. Defendant also warranted that the regular price and market value of
 4   the Products Ms. Chebul purchased was the advertised list price and warranted that Ms.
 5   Chebul was receiving a specific discount on those Products.
 6            45.   The regular price and market value of the items Ms. Chebul and putative
 7   class members would receive, and the amount of the discount they would be provided
 8   off the regular price of those items, were specific and material terms of the contract.
 9   They were also affirmations of fact about the Products and a promise relating to the
10   goods.
11            46.   Ms. Chebul and other members of the putative class performed their
12   obligations under the contract by paying for the items they purchased.
13            47.   Defendant breached its contract by failing to provide Ms. Chebul and other
14   members of the putative class with Products that have a regular price and market value
15   equal to the regular price displayed, and by failing to provide the discount it promised.
16   Defendant also breached warranties for the same reasons.
17            F.    No adequate remedy at law.
18            48.   Plaintiff seeks damages and, in the alternative, restitution. Plaintiff is
19   permitted to seek equitable remedies in the alternative because she has no adequate
20   remedy at law.
21            49.   A legal remedy is not adequate if it is not as certain as an equitable
22   remedy. The elements of Plaintiff’s equitable claims are different and do not require the
23   same showings as Plaintiff’s legal claims. For example, Plaintiff’s FAL claim under
24   section 17501 (an equitable claim) is predicated on a specific statutory provision, which
25   prohibits advertising merchandise using a former price if that price was not the prevailing
26   market price within the past three months. Cal. Bus. & Prof. Code § 17501. Plaintiff
27   may be able to prove these more straightforward factual elements, and thus prevail under
28   the FAL, while not being able to prove one or more elements of her legal claims.


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 1          50.      In addition, to obtain a full refund as damages, Plaintiff must show that the
 2   Products she bought has essentially no market value. In contrast, Plaintiff can seek
 3   restitution without making this showing. This is because Plaintiff purchased Products
 4   that she would not otherwise have purchased, but for Defendant’s representations.
 5   Obtaining a full refund at law is less certain that obtaining a refund in equity.
 6          51.      Furthermore, the remedies at law available to Plaintiff are not equally
 7   prompt or otherwise efficient. The need to schedule a jury trial may result in delay. And
 8   a jury trial will take longer, and be more expensive, than a bench trial.
 9   V.     Class action allegations.
10          52.      Plaintiff brings the asserted claims on behalf of the proposed class of:
11                 Nationwide Class: all persons who, within the applicable statute of
12                   limitations period, purchased one or more Tuft & Needle Products
13                   advertised at a discount on Defendant’s website.
14                 California Subclass: all persons who, while in the state of California and
15                   within the applicable statute of limitations period, purchased one or more
16                   Tuft & Needle Products advertised at a discount on Defendant’s website.
17          53.      The following people are excluded from the class: (1) any Judge or
18   Magistrate Judge presiding over this action and the members of their family; (2)
19   Defendant, Defendant’s subsidiaries, parents, successors, predecessors, and any entity in
20   which the Defendant or its parents have a controlling interest and their current
21   employees, officers, and directors; (3) persons who properly execute and file a timely
22   request for exclusion from the class; (4) persons whose claims in this matter have been
23   finally adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel and
24   Defendant’s counsel, and their experts and consultants; and (6) the legal representatives,
25   successors, and assigns of any such excluded persons.
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 1          Numerosity & Ascertainability
 2          54.    The proposed class contains members so numerous that separate joinder of
 3   each member of the class is impractical. There are tens or hundreds of thousands of
 4   class members.
 5          55.    Class members can be identified through Defendant’s sales records and
 6   public notice.
 7          Predominance of Common Questions
 8          56.    There are questions of law and fact common to the proposed class.
 9   Common questions of law and fact include, without limitation:
10          (1) whether Defendant made false or misleading statements of fact in its
11   advertisements;
12          (2) whether Defendant violated California’s consumer protection statutes;
13          (3) whether Defendant committed a breach of contract;
14          (4) whether Defendant committed a breach of an express warranty;
15          (5) damages needed to reasonably compensate Plaintiff and the proposed class.
16          Typicality & Adequacy
17          57.    Plaintiff’s claims are typical of the proposed class. Like the proposed class,
18   Plaintiff purchased the Tuft & Needle Products advertised at a discount from Defendant.
19   There are no conflicts of interest between Plaintiff and the class.
20          Superiority
21          58.    A class action is superior to all other available methods for the fair and
22   efficient adjudication of this litigation because individual litigation of each claim is
23   impractical. It would be unduly burdensome to have individual litigation of millions of
24   individual claims in separate lawsuits, every one of which would present the issues
25   presented in this lawsuit.
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 1   VI.   Claims.
 2                                     First Cause of Action:
 3     Violation of California’s False Advertising Law, Bus. & Prof. Code §§ 17500 &
 4                                           17501 et. seq.
 5                          (By Plaintiff and the California Subclass)
 6         59.    Plaintiff incorporates each and every factual allegation set forth above.
 7         60.    Plaintiff brings this cause of action on behalf of herself and members of the
 8   California Subclass.
 9         61.    Defendant has violated sections 17500 and 17501 of the Business and
10   Professions Code.
11         62.    Defendant has violated, and continues to violate, section 17500 of the
12   Business and Professions Code by disseminating untrue and misleading advertisements to
13   Plaintiff and subclass members.
14         63.    As alleged more fully above, Defendant advertises former prices along with
15   discounts. Defendant does this, for example, by crossing out a higher price (e.g., $2095)
16   and displaying it next to a lower, discounted price. Reasonable consumers would
17   understand prices advertised in strikethough font from which time-limited discounts are
18   calculated to denote “former” prices, i.e., the prices that Defendant charged before the
19   time-limited discount went into effect.
20         64.    The prices advertised by Defendant are not Defendant’s regular prices. In
21   fact, those prices are not Defendant’s regular prices (i.e., the price you usually have to pay
22   to get the Product in question), because there is routinely a heavily-advertised promotion
23   ongoing entitling consumers to a discount. Moreover, for the same reasons, those prices
24   were not the former prices of the Products. Accordingly, Defendant’s statements about
25   the former prices of its Products, and its statements about its discounts from those
26   former prices, were untrue and misleading. In addition, Defendant’s statements that its
27   discounts are “LIMITED TIME ONLY,” or specific to certain time periods (such as
28   President’s Day or Fourth of July) are false and misleading too.


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 1         65.    In addition, Defendant has violated, and continues to violate, section 17501
 2   of the Business and Professions Code by advertising former prices that were not the
 3   prevailing market price within three months next immediately preceding the advertising.
 4   As explained above, Defendant’s advertised regular prices, which reasonable consumers
 5   would understand to denote former prices, were not the prevailing market prices for the
 6   Products within three months preceding publication of the advertisement. And
 7   Defendant’s former price advertisements do not state clearly, exactly, and conspicuously
 8   when, if ever, the former prices prevailed. Defendant’s advertisements do not indicate
 9   whether or when the purported former prices were offered at all.
10         66.    Defendant’s misrepresentations were intended to induce reliance, and
11   Plaintiff saw, read, and reasonably relied on the statements when purchasing Tuft &
12   Needle Products. Defendant’s misrepresentations were a substantial factor in Plaintiff’s
13   purchase decision.
14         67.    In addition, subclass-wide reliance can be inferred because Defendant’s
15   misrepresentations were material, i.e., a reasonable consumer would consider them
16   important in deciding whether to buy the Tuft & Needle Products.
17         68.    Defendant’s misrepresentations were a substantial factor and proximate
18   cause in causing damages and losses to Plaintiff and the subclass.
19         69.    Plaintiff and the subclass were injured as a direct and proximate result of
20   Defendant’s conduct because (a) they would not have purchased Tuft & Needle Products
21   if they had known the truth, and/or (b) they overpaid for the Products because the Tuft
22   & Needle Products were sold at a price premium due to the misrepresentation.
23                                   Second Cause of Action:
24                  Violation of California’s Consumer Legal Remedies Act
25                          (by Plaintiff and the California Subclass)
26         70.    Plaintiff incorporates each and every factual allegation set forth above.
27         71.    Plaintiff brings this cause of action on behalf of herself and members of the
28   California Subclass.


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 1          72.    Plaintiff and the subclass are “consumers,” as the term is defined by
 2   California Civil Code § 1761(d).
 3          73.    Plaintiff and the subclass have engaged in “transactions” with Defendant as
 4   that term is defined by California Civil Code § 1761(e).
 5          74.    The conduct alleged in this Complaint constitutes unfair methods of
 6   competition and unfair and deceptive acts and practices for the purpose of the CLRA,
 7   and the conduct was undertaken by Defendant in transactions intended to result in, and
 8   which did result in, the sale of goods to consumers.
 9          75.    As alleged more fully above, Defendant made and disseminated untrue and
10   misleading statements of facts in its advertisements to subclass members. Defendant did
11   this by using fake regular prices, i.e., regular prices that are not the prevailing prices, and
12   by advertising fake discounts.
13          76.    Defendant violated, and continues to violate, section 1770 of the California
14   Civil Code.
15          77.    Defendant violated, and continues to violate, section 1770(a)(5) of the
16   California Civil Code by representing that Products offered for sale have characteristics
17   or benefits that they do not have. Defendant represents that the value of its Products is
18   greater than it actually is by advertising inflated regular prices and fake discounts for
19   Products.
20          78.    Defendant violated, and continues to violate, section 1770(a)(9) of the
21   California Civil Code. Defendant violates this by advertising its Products as being
22   offered at a discount, when in fact Defendant does not intend to sell the Products at a
23   discount.
24          79.    And Defendant violated, and continues to violate section 1770(a)(13) by
25   making false or misleading statements of fact concerning reasons for, existence of, or
26   amounts of, price reductions on its website, including by (1) misrepresenting the regular
27   price of Products on its website, (2) advertising discounts and savings that are
28   exaggerated or nonexistent, (3) misrepresenting that the discounts and savings are


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 1   unusually large, when in fact they are regularly available (4) misrepresenting the reason
 2   for the sale (e.g., “Presidents Day Sale,” when in fact the sale is ongoing and not limited to
 3   Presidents Day).
 4         80.    Defendant’s representations were likely to deceive, and did deceive, Plaintiff
 5   and reasonable consumers. Defendant knew, or should have known through the exercise
 6   of reasonable care, that these statements were inaccurate and misleading.
 7         81.    Defendant’s misrepresentations were intended to induce reliance, and
 8   Plaintiff saw, read, and reasonably relied on them when purchasing Tuft & Needle
 9   Products. Defendant’s misrepresentations were a substantial factor in Plaintiff’s purchase
10   decision.
11         82.    In addition, subclass-wide reliance can be inferred because Defendant’s
12   misrepresentations were material, i.e., a reasonable consumer would consider them
13   important in deciding whether to buy the Tuft & Needle Products.
14         83.    Defendant’s misrepresentations were a substantial factor and proximate
15   cause in causing damages and losses to Plaintiff and the subclass.
16         84.    Plaintiff and the subclass were injured as a direct and proximate result of
17   Defendant’s conduct because (a) they would not have purchased Tuft & Needle Products
18   if they had known the discounts and/or regular prices were not real, (b) they overpaid for
19   the Products because the Products were sold at a price premium due to the
20   misrepresentation, and/or (c) they received products with market values lower than the
21   promised market values.
22         85.    Accordingly, pursuant to California Civil Code § 1780(a)(2), Ms. Chebul, on
23   behalf of herself and all other members of the subclass, seeks injunctive relief.
24         86.    CLRA § 1782 NOTICE. On February 29, 2024, a CLRA demand letter was
25   sent to Defendant’s headquarters and registered agent via certified mail (return receipt
26   requested), that provided notice of Defendant’s violations of the CLRA and demanded
27   that Defendant correct the unlawful, unfair, false and/or deceptive practices alleged here.
28   Defendant does not have a California headquarters. Defendant has not fully corrected


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 1   the problem for Plaintiff and for each member of the California Subclass within 30 days
 2   of receipt. Accordingly, Plaintiff and the California Subclass seek all monetary relief and
 3   equitable relief allowed under the CLRA, including reasonable attorneys’ fees and
 4   punitive damages.
 5         87.    A CLRA venue declaration is attached.
 6                                     Third Cause of Action:
 7                       Violation of California’s Unfair Competition Law
 8                           (by Plaintiff and the California Subclass)
 9         88.    Plaintiff incorporates each and every factual allegation set forth above.
10         89.    Plaintiff brings this cause of action on behalf of herself and members of the
11   California Subclass.
12         90.    Defendant has violated California’s Unfair Competition Law (UCL) by
13   engaging in unlawful, fraudulent, and unfair conduct (i.e., violating each of the three
14   prongs of the UCL).
15         The Unlawful Prong
16         91.    Defendant engaged in unlawful conduct by violating the CLRA and FAL, as
17   alleged above and incorporated here. In addition, Defendant engaged in unlawful
18   conduct by violating the FTCA. The FTCA prohibits “unfair or deceptive acts or
19   practices in or affecting commerce” and prohibits the dissemination of false
20   advertisements. 15 U.S.C. § 45(a)(1). As the FTC’s regulations make clear, Defendant’s
21   false pricing schemes violate the FTCA. 16 C.F.R. § 233.1, § 233.2.
22         The Deceptive Prong
23         92.    As alleged in detail above, Defendant’s representations that its Products
24   were on sale, that the sale was limited in time, that the Products had a specific regular
25   price, and that the customers were receiving discounts were false and misleading.
26         93.    Defendant’s representations were misleading to Plaintiff and other
27   reasonable consumers.
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 1          94.    Plaintiff relied upon Defendant’s misleading representations and omissions,
 2   as detailed above.
 3          The Unfair Prong
 4          95.    As alleged in detail above, Defendant committed “unfair” acts by falsely
 5   advertising that its Products were on sale, that the sale was limited in time, that the
 6   Products had a specific regular price, and that the customers were receiving discounts.
 7          96.    Defendant violated established public policy by violating the CLRA, the
 8   FAL, and the FTCA, as alleged above and incorporated here. The unfairness of this
 9   practice is tethered to a legislatively declared policy (that of the CLRA, the FAL, and the
10   FTCA).
11          97.    The harm to Plaintiff and the subclass greatly outweighs the public utility of
12   Defendant’s conduct. There is no public utility to misrepresenting the price of a
13   consumer product. This injury was not outweighed by any countervailing benefits to
14   consumers or competition. Misleading consumer products only injure healthy
15   competition and harm consumers.
16          98.    Plaintiff and the subclass could not have reasonably avoided this injury. As
17   alleged above, Defendant’s representations were deceptive to reasonable consumers like
18   Plaintiff.
19          99.    Defendant’s conduct, as alleged above, was immoral, unethical, oppressive,
20   unscrupulous, and substantially injurious to consumers.
21                                              * * *
22          100. For all prongs, Defendant’s representations were intended to induce
23   reliance, and Plaintiff saw, read, and reasonably relied on them when purchasing Tuft &
24   Needle Products. Defendant’s representations were a substantial factor in Plaintiff’s
25   purchase decision.
26          101. In addition, subclass-wide reliance can be inferred because Defendant’s
27   representations were material, i.e., a reasonable consumer would consider them important
28   in deciding whether to buy Tuft & Needle Products.


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 1         102. Defendant’s representations were a substantial factor and proximate cause
 2   in causing damages and losses to Plaintiff and the subclass members.
 3         103. Plaintiff and the subclass were injured as a direct and proximate result of
 4   Defendant’s conduct because (a) they would not have purchased the Tuft & Needle
 5   Products if they had known that they were not discounted, and/or (b) they overpaid for
 6   the Products because the Products were sold at the regular price and not at a discount.
 7                                    Fourth Cause of Action:
 8                                       Breach of Contract
 9                           (by Plaintiff and the Nationwide Class)
10         104. Plaintiff incorporates each and every factual allegation set forth above.
11         105. Plaintiff brings this cause of action on behalf of herself and the Nationwide
12   Class. In the alternative, Plaintiff brings this cause of action on behalf of herself and the
13   California Subclass.
14         106. Plaintiff and class members entered into contracts with Defendant when
15   they placed orders to purchase Products on Defendant’s website.
16         107. The contracts provided that Plaintiff and class members would pay
17   Defendant for the Products purchased.
18         108. The contracts further required that Defendant provides Plaintiff and class
19   members with Products that have a market value equal to the regular prices displayed on
20   the website. They also required that Defendant provide Plaintiff and class members with
21   a discount equal to the difference between the price paid, and the regular prices
22   advertised. These were specific and material terms of the contract.
23         109. The specific discounts were a specific and material term of each contract.
24         110. Plaintiff and class members paid Defendant for the Products they
25   purchased, and satisfied all other conditions of their contracts.
26         111. Defendant breached its contracts with Plaintiff and class members by failing
27   to provide Products that had a regular price, former price, and/or prevailing market value
28


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 1   equal to the regular price displayed on its website, and by failing to provide the promised
 2   discount. Defendant did not provide the discount that it had promised.
 3           112. Plaintiff provided Defendant with notice of this breach of contract, by
 4   mailing a notice letter to Defendant’s headquarters and registered agent on February 29,
 5   2024.
 6           113. As a direct and proximate result of Defendant’s breaches, Plaintiff and class
 7   members were deprived of the benefit of their bargained-for exchange, and have suffered
 8   damages in an amount to be established at trial.
 9                                     Fifth Cause of Action:
10                                  Breach of Express Warranty
11                           (by Plaintiff and the California Subclass)
12           114. Plaintiff incorporates each and every factual allegation set forth above.
13           115. Plaintiff brings this cause of action on behalf of herself and members of the
14   California Subclass.
15           116. Defendant, as the manufacturer, marketer, distributor, supplier, and/or
16   seller of the Tuft & Needle Products, issued material, written warranties by advertising
17   that the Products had a prevailing market value equal to the regular price displayed on
18   Defendant’s website. This was an affirmation of fact about the Products (i.e., a
19   representation about the market value) and a promise relating to the goods.
20           117. This warranty was part of the basis of the bargain and Plaintiff and
21   members of the subclass relied on this warranty.
22           118. In fact, the Tuft & Needle Products’ stated market value was not the
23   prevailing market value. Thus, the warranty was breached.
24           119. Plaintiff provided Defendant with notice of this breach of warranty, by
25   mailing a notice letter to Defendant’s headquarters and registered agent on February 29,
26   2024.
27           120. Plaintiff and the subclass were injured as a direct and proximate result of
28   Defendant’s breach, and this breach was a substantial factor in causing harm, because (a)


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 1   they would not have purchased Tuft & Needle Products if they had known that the
 2   warranty was false, or (b) they overpaid for the Products because the Products were sold
 3   at a price premium due to the warranty.
 4                                     Sixth Cause of Action:
 5                             Quasi-Contract/Unjust Enrichment
 6                           (by Plaintiff and the Nationwide Class)
 7          121. Plaintiff incorporates each and every factual allegation in paragraphs 1-42,
 8   48-58 above.
 9          122. Plaintiff brings this cause of action in the alternative to her Breach of
10   Contract claim (Claim IV) on behalf of herself and the Nationwide Class. In the
11   alternative, Plaintiff brings this claim on behalf of herself and the California Subclass.
12          123. As alleged in detail above, Defendant’s false and misleading advertising
13   caused Plaintiff and the class to purchase Tuft & Needle Products and to pay a price
14   premium for these Products.
15          124. In this way, Defendant received a direct and unjust benefit, at Plaintiff’s
16   expense.
17          125. (In the alternative only), due to Defendant’s misrepresentations, its
18   contracts with Plaintiff and other class members are voidable.
19          126. Plaintiff and the class seek restitution, and in the alternative, rescission.
20                                    Seventh Cause of Action:
21                                  Negligent Misrepresentation
22                           (by Plaintiff and the California Subclass)
23          127. Plaintiff incorporates each and every factual allegation set forth above.
24          128. Plaintiff brings this cause of action on behalf of herself and members of the
25   California Subclass.
26          129. As alleged more fully above, Defendant made false representations and
27   material omissions of fact to Plaintiff and subclass members concerning the existence
28   and/or nature of the discounts and savings advertised.


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 1         130. These representations were false.
 2         131. When Defendant made these misrepresentations, it knew or should have
 3   known that they were false. Defendant had no reasonable grounds for believing that
 4   these representations were true when made.
 5         132. Defendant intended that Plaintiff and subclass members rely on these
 6   representations and Plaintiff and subclass members read and reasonably relied on them.
 7         133. In addition, subclass-wide reliance can be inferred because Defendant’s
 8   misrepresentations were material, i.e., a reasonable consumer would consider them
 9   important in deciding whether to buy the Tuft & Needle Products.
10         134. Defendant’s misrepresentations were a substantial factor and proximate
11   cause in causing damages and losses to Plaintiff and subclass members.
12         135. Plaintiff and subclass members were injured as a direct and proximate result
13   of Defendant’s conduct because (a) they would not have purchased Tuft & Needle
14   Products if they had known that the representations were false, and/or (b) they overpaid
15   for the Products because the Products were sold at a price premium due to the
16   misrepresentation.
17                                  Eighth Cause of Action:
18                               Intentional Misrepresentation
19                          (by Plaintiff and the California Subclass)
20         136. Plaintiff incorporates each and every factual allegation set forth above.
21         137. Plaintiff brings this cause of action on behalf of herself and members of the
22   California Subclass.
23         138. As alleged more fully above, Defendant made false representations and
24   material omissions of fact to Plaintiff and subclass members concerning the existence
25   and/or nature of the discounts and savings advertised.
26         139. These representations were false.
27
28


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 1         140. When Defendant made these misrepresentations, it knew that they were
 2   false at the time that it made them and/or acted recklessly in making the
 3   misrepresentations.
 4         141. Defendant intended that Plaintiff and subclass members rely on these
 5   representations and Plaintiff and subclass members read and reasonably relied on them.
 6         142. In addition, subclass-wide reliance can be inferred because Defendant’s
 7   misrepresentations were material, i.e., a reasonable consumer would consider them
 8   important in deciding whether to buy the Tuft & Needle Products.
 9         143. Defendant’s misrepresentations were a substantial factor and proximate
10   cause in causing damages and losses to Plaintiff and subclass members.
11         144. Plaintiff and subclass members were injured as a direct and proximate result
12   of Defendant’s conduct because (a) they would not have purchased Tuft & Needle
13   Products if they had known that the representations were false, and/or (b) they overpaid
14   for the Products because the Products were sold at a price premium due to the
15   misrepresentation.
16   VII. Relief.
17         145. Plaintiff seeks the following relief for herself and the proposed class:
18              An order certifying the asserted claims, or issues raised, as a class action;
19              A judgment in favor of Plaintiff and the proposed class;
20              Damages, treble damages, and punitive damages where applicable;
21              Restitution;
22              Rescission;
23              Disgorgement, and other just equitable relief;
24              Pre- and post-judgment interest;
25              An injunction prohibiting Defendant’s deceptive conduct, as allowed by
26                law;
27              Reasonable attorneys’ fees and costs, as allowed by law;
28              Any additional relief that the Court deems reasonable and just.


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 1   VIII. Demand for Jury Trial.
 2         146. Plaintiff demands the right to a jury trial on all claims so triable.
 3
 4   Dated: April 3, 2024                              Respectfully submitted,
 5                                                     By: /s/ Christin Cho
 6
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